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                       IN T H E UN ITED STA TES DISTR IC T C O U RT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     M IAM ID IVISIO N

                                CASE NO. 13-21955-CV-KlNG

  M IKE PETIN SK Y,

         Plaintiff

  VS.

  GATOR 13800NW 7thAvE. LLC,

         Defendant.


                                  O RDER O F DISM ISSAL

         THIS CAUSE com esbeforethe Courtupon thePlaintiff'sM otion forSumm ary

  Judgment(DE 14)andDefendant'sCross-Motion forSummary Judgment(DE 20),tiled
  December11,2013andJanuary22,2014,respectively.Thisisanaction forinjunctiverelief
  undertheAmericansW ithDisabilitiesAct,42U.S.C.j12181,etseq.C1ADA'').Plaintiffs
  motionarguesthatheisentitledto summaryjudgmentbecausetheundisputed factsdemonstrate
  that:heisadisabled person within them eaningoftheADA;Defendant'sproperty isaplace of

  public aceomm odation within themeaning ofthe ADA;hevisited Defendant'sproperty and

  encounteredbarriersto accesswhich discriminated againsthim on the basisofhisdisability;and

  Defendant'sviolationsoftheADA are ongoing.DE 14. Defkndantclaim sthatsumm ary

 judgmentisappropriateonitsownbehalfbecausePlaintiffsclaim wasmootedwhen,afterthe
  Complaintwasfiled and served,Defendantremoved allalleged barriersto accessattheproperty

 thatisthesubjectofthisaction.DE 20.Aftercarefulconsiderationofthepleadingsand
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  argumentsraised by theparties,1tlle Courtfindsthatthisaction mustbe dism issed because

  Plaintiff'sclaim ismoot.

  1.      Background

       Plaintiffisconfined to awheelchairand istherefore a disabled person within the meaning

  oftheADA.Defendantistheownerofashoppingpla'
                                            za(thetsproperty'')located at13800-13816
  N W 7th Ave.,M iam i,FL. PlaintifTallegeshe visited the property and encountered the following

  barriers to access which discrim inated against him on the basis ()f his disability'
                                                                                     .improperly

  painted and/or maintained striping,signage,and access aisles on the disabled parking spaces;

  curb ramps thatwere too steep and had no edge protection;and accessible routes and access

  aisles at the property blocked with tenant signage.See DE 1. The Com plaint contains no

  indication ofwhen thisvisitoccurred.Id

       On Septembex20,2013,Plaintiff sADA compliance expert,lwuisAndrouin,conducted an

  inspection of the property for the purpose of surveying the extent of the ADA violations at

  Defendant's proptrty.M r.Androuin's expertreportconfirmed the txistence of,inter alia,the

  barriersto accessencountered by Plaintiffwhen hevisited the property.M r.Androuin issued an

  expertreportdetailing hissndingson October30,2013.M r.Androuin'sexpertreportliststhirty

  separate ADA violations and recommends steps Defendant should be required to take to

  rcm ediatethoseviolations.

       On January 6, 2014, Defendant hired a contractor to tlndertake all m odiscations

  recomm ended by M r. Androuin's expert report. As of January 22, 2014, Defendant had


  1ln addition to the parties'respective motions for summary judgment,the Courthas also
  considered:Defendant's Response in Opposition to Plaintiffs M otion for Sum mary Judgm ent
  (DE 20),PlaintiffsReply in SupportofhisM otion forSummary Judgmentand Response in
  OppositiontoDefendant'sM otionforSummaryJudgment(DE 24),filedFebruary 10,2014,and
  Defendant'sReply in SupportofM otion forSummary Judgment(DE 33),filed February 20,
  2014.
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  com pleted a1l interior m odifications recom m ended by M r. Androuin's report and was in the

  processofcompleting the exterioxmodificationsrecomm ended by the report. AsofFebruary 3,

  2014,allitem sidentified in M r.Androuin'sexpertreportwerem odified asrecomm ended by the

  report.

  ll.    LegalStandard for Sum m ary Judgm ent

         Summaryjudgmentisappropriatewherethepleadingsandsupportingmaterialsestablish
  thatthereisno genuineissue astoany materialfactand thatthemoving party isentitledto

  judgmentasamatteroflaw.SeeFed.R.Civ.P.56;CelotexCorp.v.Catrett,477U.S.317,322
  (1986).lftherecord asawholecouldnotleadarationalfad-findertofind forthenonmoving
  party,thereisno genuineissueoffactfortrial.SeeM atsushitaElec.Indus.Co.v.Zenith Radio

  Corp.,475U.S.574,587(1986).
         Themoving party bearstheburden ofpointing to thepartofthe record thatshowsthe

  absenceofagenuineissueofm aterialfact.SeeAdickesv.S.H Kress& Co.,398U.S.144,157

  (1970);Allenv.TysonFoods,Inc.,121F.3d642,646(11thCir.1997).Oncethemovingparty
  establishestheabsenceofa genuine issueofm aterialfact,theburden shiftsto thenonm oving

  party to go beyond the pleadings and designate çlspecific factsshow ing thatthere isa genuine

  issuefortrial.''Celotex,477U.S.at324.
                                      ,seealso Chanel,lnc.v.ItalianActivewearofFla.,Inc.,
  931F.2d 1472,1477(11th Cir.1991)(holdingthatthenomnovingpartymustû'comeforward
  withsigniticant,probativeevidencedemonstratingtheexistenceofatriableissueoffact.'').
        On a motion forsummary judgment,the courtmustview the evidence and resolve all
  inferences in the lightm ost favorable to the nonm oving party. See A nderson v.f iberty Lobby,

 Inc.,477 U.S.242,255 (1986). However,a mcre scintilla of evidence in supportof the
 nonmovingparty'sposition isinsufficientto defeatamotionforsummaryjudgment.Seef#.at
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  252. lftheevidence offered by the nonmoving party is merely colorable orisnotsignificantly

  probative,summaryjudgmentisproper.Seeid.at249-50.
  111.    Discussion and Analysis

         The factsofthiscase show :Plaintiffvisited Defendant'sproperty and encountered certain

  baniersto access;Plaintifffiled s'
                                   uitforinjunctiverelief;Plaintiffsexpertvisited theproperty
  andcataloguedthirty separateADA violations(many ofwhichPlaintiffdidnotencounterduring
  hisvisitand/orwasnotawareofatthetimehefiledhisComplaint);andDefendantsubsequently
  hired acontractorto remedy allthealleged violationslisted in Plaintiffsexpertreport.Asofthe

  date of tiling of Defendant's Cross-M otion for Summ ary Judgment the remediation of the

  property waswellunderway and Defendanthad com mitted to completing it.Thus,the facts of

  thiscaserenderitplain thatthe filing ofthisADA action wasthecatalystforDefendantto bring

  itsproperty into compliance with theADA. The issuesnow rem aining before the Courtinclude

  whetherDefendant's actions subsequentto the com mencement ofthis action render Plaintiffs

  claim m ootand whetherPlaintiffisaSlprevailingparty''forthepum ose ofan award ofattorney's

  feesand costs.

         A . Standing and M ootness

         To establish constitutionalstandingto bring suit,aplaintiffmustdemonstrate (1)thathe
  sufferedaninjuryin fad;(2)theinjurywascausallyconnededtothedefendant'saction;and(3)
 theinjurywillberedressedby ajudgmentintheplaintiffsfavor.fttfanv.Defendersof Wildlfe,
  504 U.S.555,560-61(1992);Shotzv.Cates,256 F.3d 1077,1081 (11th Cir.2001)(applying
 fljjan standing testto ADA case).An issuemaybecome mootçswhen actionssubsequentto the
 comm encement of a law suit create an environm ent in which the Court can no longer give

 meaningfulrelief.''AccessfortheDisabled v.BrinkerFlorida,Inc'
                                                             .,No.02-60314-.
                                                                           1EM (S.D.


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  Fla.Jan.15,2003)(citingJews/?rJesus,lnc.v.Hillsborough Cn/y.AviationAuth.,162 F.3d
  627 (11th Cir.1998);Fla.Ass'n oJ'Rehab.Facilities,Inc.v.Fla.Dep'tof Health and Rehab.
                                    .



  Servs.,225F.3d 1208(11th Cir.2000)).lncaseswheredefendantsvoluntarily ceaseorterminate
  allegedly discriminatory practices,courts m ust consider whether there can be a reasonable

  expectation that the defendant will simply re-establish its diseriminatory pradices after the

  conelusionoftheadion.SeeNat1Adver.Co.v.CityofFortLauderale,934 F.2d283(11th Cir.
  1991).Ifsuch isthe case,thedefendant'svoluntarycessationisinsufficientto mootaplaintiffs
  claim.Id.However,theissueofmootnessisjurisdidionalandtheCourtmustdismissanyclaim
  forwhich thereliefsoughtisno longermeaningful.SeeN.C.v.Rice,404U.S.244,246(1971);
  seealsoHallv.Beals,396U.S.45,
                              ,48(1969).
       lnthismatter,Plaintiffwasinjured when hewasdiscriminated againston thebasisofhis
  disability by the existence of the'architecturalbarriers which he encountered atthe subject
  property.Thebarriersidentified by the Complaintinclude:im properly painted and/orm aintained

  striping,signage,and access aisles on the disabled parking spaces;curb ram psthatare too steep

  and lack edge protection;and accessible routes and access aisles atthe property blocked with

  tenant signage.See DE 1.Defendant,in itsmotion for summary judgment,assertsthat,on
  January 6,2014,ithired a contractorto remediate al1barriersto accessidentified by Plaintiffs

  expertreport, and that, as of January 22,2014,allbarriers listed in the report were either

 relnedied or were in the process ofbeing remedied.ln supportof this contention,Defendant

 offered the affidavit of David M iller, its property manager, who oversaw the hiring of the

 contractor and the rem ediation w ork. D E 19-2. M r. M iller's affidavit constitutes significant,

 probative evidence that the barriers identifed by the C om plaint w ere rem ediated or in the




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  processofbeing remediated.2Id.Plaintiffhasfailed to com eforward with significant, probative

  evidence which contradictsM r.M iller'saffidavit.Accordingly,the CourttindsthatDefendant's

  adionshavem ootedPlaintiffsclaim .

         B. Prevailing Party

         Asm entioned previously,itisplain thatthisaction wasthecatalystforDefendantto bring

  itsproperty into compliancewith theADA .However,the Suprem eCourthasdirectly considered

  andrejectedthenotion ofaplaintiffbeingaprevailingpartybasedon theSlcatalysttheory.''See
  Buckhannon Bd.and Care Home,Inc.v.1r':.
                                        :/JQ.Dep'tof HeaIth and Human Res.,532 U.S.
  598(2001)(decliningto award ofattorney'sfeeswherethereisnojudicially sanctionedchange
  in the legalrelationship ofthe parties). Accordingly,theCourtalso findsthatPlaintiffisnot
  entitled to recoverhisattorney'sfeesand costsbecausePlaintiffisnotaprevailingparty.

  IV .     C onclusion

         Defendant's aforem entioned rem edial actions limit the Court's ability to provide

  m eaningfulrelief to Plaintiff.lndeed,as ofthe date ofthis Order,Defendanthas removed a1l

  baniersto accessidentified by Plaintiff'sexpert.3An orderofthe Courtto remedy the situation

  identified by the Com plaint can do nothing further than w hat Defendant has already done.

  Additionally,there can be no reasonableexpectation thatDefendantwillre-establish the alleged

  discrim inatory barriersbecausethisisnota simple case ofvoluntary cessation'
                                                                             ,Defendantm ade



  2 M oreover, asPlaintiffonly had standing to seek reliefforADA violationst'thathe personally
  encountered or about which he had actual notice'' at the tim e the Complaint was filed,
  Defendant's undertaking to remediate al1 purported ADA violations identified by Plaintiffs
  expertwentabove and beyond w hatwas required ofit.See A ccessN ow ,lnc.v.S.Fla.Stadium
  Corp., 16l F.Supp.2d 1357, 1365;see also N orkunas v.Seahorse N B,LLC,N o. 11-12402,
  2011W L 5041705,at*2(11th Cir.Oct.25,2011)(findingthatplaintifflackedstandingtobring
  claims regarding motel's designated accessible room s because he failed to requestaccessible
  room andthusdidnotexperiencediscriminationrelatedtotheaccessibleroom).
  3See February 18, 2014AffidavitofADA ComplianceExpertDavidGoldfarb (DE 31-1).

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  structural m odifications to the property to bring it into com pliance w ith the A DA .Thus, any

  reliefgranted by theCourtwould berepetitiveand m eaningless.Itfollows,then,thattheCourtis

  withoutjurisdictiontoconsiderPlaintiff'sclaim andthesamemustbedismissed.
      Accordingly,it is ORDERED,ADJUDGED, and DECREED thatDefendant's Cross-

  Motion forSummary Judgment(I)E 20)be,and the sameis,hereby GRANTED.Thiscase is
  DISM ISSED withoutprejudice-.should Defendantrevertbackto itsallegedways,Plaintiffis
  free to re-initiate suit.Each party is to bear their own attorney and legal fees.A1l pending

  motionsareDENIED asm oot.The Clerk shallCLOSE thiscase.

         DONE AND ORDERED in Cham bers,at M iam i,M iam i-Dade County,Florida,this

  10th day ofApril,2014.                                                                 #
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                                                 ITED STA TES D ISTRICT JU D GE
  Cc:A lIcounselofrecord




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